                               IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                        SOUTHERN DIVISION
                                           No. 7:23-cv-01516

IN RE: CAMP LEJEUNE
WATER LITIGATION
Stephen Thomas Trembley v. United States of America
                                                      /

THIS DOCUMENT RELATES TO:                                              JURY TRIAL DEMANDED

 STEPHEN THOMAS      C            TREMBLEY
Plaintiff First          Middle   Last            Suffix




                                         SHORT-FORM COMPLAINT

            The P

against Defendant United States of America under the Camp Lejeune Justice Act of 2022

                                  -168, § 804, 136 Stat. 1802, 1802

representative incorporates by reference the allegations contained in the Master Complaint (DE

25) on file in the case styled In Re: Camp Lejeune Water Litigation, Case No. 7:23-cv-897, inthe

United States District Court for the Eastern District of North Carolina. Plaintiff or

representative files this Short-Form Complaint as permitted by Pretrial Order No. 2.

              Plaintiff or          representative alleges as follows:

                                              I. INSTRUCTIONS

  1. On THIS FORM, are you asserting a claim for           This form may only be used to file a complaint for
  injuries to YOU or to SOMEONE ELSE you legally                                       If you intend to bring
  represent?                                                                                          for example,
     To me                                                 a claim for yourself and one for a deceased spouse
     Someone else                                          you must file ONE FORM FOR EACH INJURED
                                                           PERSON.




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                                    II. PLAINTIFF INFORMATION

If you checked          in Box 1, YOU are the Plaintiff. Complete this section with information about YOU.

If you checked             in Box 1, THAT PERSON is the Plaintiff. Complete this section with
information about THAT PERSON.

  2. First name:              3. Middle name:                4. Last name:                   5. Suffix:
 STEPHEN                     THOMAS                          TREMBLEY
  6. Sex:                                                    7. Is the Plaintiff deceased?
     Male                                                       Yes
     Female                                                     No
     Other
                                                             If you checked          in Box 1, check      here.
  Skip (8) and (9) if you checked        in Box 7.
  8. Residence city:                                         9. Residence state:

  Skip (10), (11), and (12) if you checked       in Box 7.
  10. Date of                 11.             residence      12. Was the            death caused by an injury
  death:                      state at the time of their     that resulted from their exposure to contaminated
 March 27, 2007               death:                         water at Camp Lejeune?
                                                               Yes
                                                               No
                             OREGON

                                    III. EXPOSURE INFORMATION

If you checked          in Box 1, complete this section with information about YOU.

If you checked                  in Box 1, complete this section with information about THAT PERSON.



 at Camp Lejeune:                                             Camp Lejeune:
 March 1, 1984                                               January 1, 1988
  15. Estimated total months of exposure:
 46 months                                                   (please check all that apply):
                                                                Member of the Armed Services
                                                                Civilian (includes in utero exposure)
  17. If you checked Civilian in Box 16, check all that      18. Did Plaintiff at any time live or work in any of
  describe the Plaintiff at the time(s) of exposure:         the following areas? Check all that apply.
    Civilian Military Dependent                                 Berkeley Manor
    Civilian Employee of Private Company                        Hadnot Point
    Civil Service Employee                                      Hospital Point
    In Utero/Not Yet Born                                       Knox Trailer Park
    Other                                                       Mainside Barracks
                                                                Midway Park
                                                                Paradise Point
                                                                Tarawa Terrace
                                                                None of the above
                                                                Unknown




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                                     IV. INJURY INFORMATION

If you checked          in Box 1, complete this section with information about YOU.

If you checked                  in Box 1, complete this section with information about THAT PERSON.

19. Identify the illnesses or conditions the Plaintiff suffered as a result of exposure to contaminated water at
Camp Lejeune.

  Injury                                                                           Approximate date of onset
     Adverse birth outcomes (Plaintiff is the PARENT of an individual who died in
  utero or was stillborn or born prematurely)
     ALS (Lou             Disease)
     Aplastic anemia or myelodysplastic syndrome
     Bile duct cancer
     Bladder cancer                                                               2004
     Brain / central nervous system cancer
     Breast cancer
     Cardiac birth defects (Plaintiff was BORN WITH the defects)
     Cervical cancer
     Colorectal cancer
     Esophageal cancer
     Gallbladder cancer
     Hepatic steatosis (Fatty Liver Disease)
     Hypersensitivity skin disorder
     Infertility
     Intestinal cancer
     Kidney cancer                                                                2005
     Non-cancer kidney disease
     Leukemia
     Liver cancer
     Lung cancer
     Mutliple myeloma
     Neurobehavioral effects
     Non-cardiac birth defects (Plaintiff was BORN WITH the defects)
     Non-               Lymphoma
     Ovarian cancer
     Pancreatic cancer
                    disease
     Prostate cancer
     Sinus cancer
     Soft tissue cancer
     Systemic sclerosis / scleroderma
     Thyroid cancer




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  The Camp Lejeune Justice Act does not specify a list of covered conditions.

  If the Plaintiff suffers or previously suffered from a condition not listed above, and the Plaintiff alleges that the

  and describe the condition on the following lines.


  has approved benefits in connection with Camp Lejeune for conditions beyond those listed above.
     Other:                                                                                 Approximate date of onset




                                V. REPRESENTATIVE INFORMATION

If you checked            in Box 1, SKIP THIS SECTION and proceed to section VI.

If you checked                    in Box 1, complete this section with information about YOU.

  20. Representative First      21. Representative             22. Representative Last        23. Representative
  Name:                         Middle Name:                   Name:                          Suffix:

 CHONDRA                        NICOLE                        ROSENBAUM
  24. Residence City:                                          25. Residence State:
 PORTLAND                                                                      OREGON
                                                                  Outside of the U.S.

  26. Representative Sex:
    Male
    Female
    Other
  27. What is your familial relationship to the Plaintiff?
    They are/were my spouse.
    They are/were my parent.
    They are/were my child.
    They are/were my sibling.
    Other familial relationship: They are/were my
    No familial relationship.
  Derivative claim

  of financial support, loss of consortium, or any other economic or non-economic harm for which you
  intend to seek recovery?
     Yes
     No




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                                           VI. EXHAUSTION

 29. On what date was the administrative claim for      30. What is the DON Claim Number for the
 this Plaintiff filed with the Department of the Navy   administrative claim?
 (DON)?

 mm/dd/yyyy       08/25/2023
                                                          DON has not yet assigned a Claim Number




                                      VII. CLAIM FOR RELIEF

       Plaintiff respectfully requests that pursuant to subsection 804(b) of the CLJA the Court

enter judgment against the Defendant and award damages and all other appropriate relief for the

harm to Plaintiff that was caused by exposure to the water at Camp Lejeune.



                                    VIII. JURY TRIAL DEMAND

       Plaintiff demands a trial by jury of all issues so triable pursuant to Rule 38 of the Federal

Rules of Civil Procedure and subsection 804(d) of the CLJA.




Dated: November 5, 2023

WALLACE & GRAHAM, P.A.                           AVA LAW GROUP, PLLC
Local Counsel for Plaintiff                      Pro Hac Vice Forthcoming

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Mona Lisa Wallace                                Andrew Van Arsdale
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